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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 1:23-cv-23590-DSL

  NINA QUINN-DAVIS,
  individually and on behalf of
  all those similarly situated,

         Plaintiff,
  v.

  TRUEACCORD CORP.,

        Defendant.
  ___________________________/

  PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO FILE MOTION FOR CLASS
                            CERTIFICATION
         Plaintiff Nina Quinn-Davis (“Plaintiff”), moves the Court for an extension of time

  (“Motion”) through and including June 28, 2024, to file her forthcoming Motion for Class

  Certification. In support of this Motion, Plaintiff states as follows:

         Federal Rule of Civil Procedure 6 gives the Court authority to grant extensions of time.

  The rule provides as follows:

         (b) EXTENDING TIME.
              (1) In General. When an act may or must be done within a specified time, the court
              may, for good cause, extend the time:
                  (A) with or without motion or notice if the court acts, or if a request is made,
                  before the original time or its extension expires;
  Fed. R. Civ. P. 6(b)(1)(A).
         1.       On April 23, 2024, this Court entered an Amended Order Setting Jury Trial and

  Class Certification Deadlines (“Amended Order”) [DE 32]. The Amended Order set May 31, 2024,

  as the deadline to file any motions for class certification. See Amended Order [DE 32]. Before the

  Amended Order, there was no class certification deadline in place. See Scheduling Order [DE 10].

  As such, Plaintiff anticipated that she would have until the discovery deadline, June 28, 2024, to
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  complete class discovery. Plaintiff needs a brief extension of time to complete class discovery. As

  such, Plaintiff is requesting until the end of the current discovery deadline, June 28, 2024, to

  complete class discovery and file her motion for class certification. This Court has the discretion

  to extend the deadline for Plaintiff to file her Motion for Class Certification. See Ware v. Pine State

  Mortg. Corp., No/ 18- 11629, 2018 WL5733210, at *2 (11th Cir. Oct. 31, 2018) (“When an act

  may or must be done within a specified time, the court may, for good cause, extend the time.”)

  (citing Fed. R. Civ. P. 6(b)).

          As this extension will affect Defendant’s response deadline and the Hearing on Class

  Certification. Plaintiff proposes the extension of Defendant’s response deadline to July 26, 2024.

  Plaintiff also proposes the continuance of the Hearing on Class Certification to August 7, 2024.

  These extensions will not prevent the parties from complying with the other deadlines set by the

  Court or the current trial setting. This Motion is being made in good faith and not for delay.

  Accordingly, good cause exists to grant this Motion.

                                   Certification Under S.D. Fla. L.R. 7.1

          As required under Local Rule 7.1(1)(a)(3), the undersigned conferred with counsel for

  Defendant and states that Defendant opposes the relief requested in this motion.




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  Dated: May 30, 2024
                                                     Respectfully Submitted,

                                                     /s/ Gerald D. Lane, Jr.
                                                     JIBRAEL S. HINDI, ESQ.
                                                     Florida Bar No.: 118259
                                                     E-mail: jibrael@jibraellaw.com
                                                     GERALD D. LANE, JR., ESQ.
                                                     Florida Bar No.: 1044677
                                                     E-mail: gerald@jibraellaw.com
                                                     The Law Offices of Jibrael S. Hindi
                                                     110 SE 6th Street, Suite 1744
                                                     Fort Lauderdale, Florida 33301
                                                     Phone: 954-907-1136

                                                     COUNSEL FOR PLAINTIFF




                                     CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on May 30, 2024, the foregoing was electronically

  filed with the Clerk of the Court using the CM/ECF system which will send a notice of electronic

  filing to all counsel of record.

                                                     /s/ Gerald D. Lane, Jr    .
                                                     GERALD D. LANE, JR., ESQ.
                                                     Florida Bar No.: 1044677

                                                     COUNSEL FOR PLAINTIFF
